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                           UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION



IMMERSION CORPORATION,

              Plaintiff,

       v.                                                        Case No. 2:17-cv-572

SAMSUNG ELECTRONICS AMERICA, INC. and                        JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD.,

              Defendants.




              DEFENDANTS’ NOTICE OF COMPLIANCE WITH ORDER

       Defendants Samsung Electronics America, Inc. and Samsung Electronics Company, Ltd.,

(collectively “Samsung”) hereby provide notice that on October 22, 2018, pursuant to the

Court’s Order of October 16, 2018, a check in the amount of $13,991.14 was sent via Federal

Express to Mr. Keyzer’s office. Confirmation of delivery was received on October 23, 2018.




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Dated: October 25, 2018              Respectfully submitted,
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                                               COUNSEL FOR DEFENDANTS SAMSUNG
                                               ELECTRONICS AMERICA, INC. AND SAMSUNG
                                               ELECTRONICS CO., LTD.




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on October 25, 2018, to all counsel of record who are deemed to have

consented to electronic service via email per Local Rule CV-5(a)(3).

                                                /s/ Stephen A. Marshall




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